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                             UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN AT DETROIT



MARIA CONTRERAS ARTEAGA,            )                            A# 096-535-924
                                    )
Plaintiff,                          )
                                    )
v.                                  )
                                    )
KEVIN McALEENAN, SECRETARY          )
OF UNITED STATES DEPARTMENT         )
OF HOMELAND SECURITY; LEE           )
FRANCIS CISSNA, ACTING              )
DIRECTOR OF UNITED STATES           )
CITIZENSHIP AND IMMIGRATION         )
SERVICES; MICHAEL KLINGER,          )
FIELD OFFICE DIRECTOR OF            )
DETROIT SERVICE CENTER,             )
UNITED STATES CITIZENSHIP           )
AND IMMIGRATION SERVICES;           )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY; and UNITED STATES         )
CITIZENSHIP AND IMMIGRATION         )
SERVICES,                           )
                                    )
 Defendants.                        )
____________________________________)

                PLAINTIFF'S COMPLAINT FOR MANDAMUS AND

                         DECLARATORY JUDGMENT




Dalia Rasha Kejbou, P.C.

Dalia R. Kejbou (P63428)

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248-646-1711
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                      UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN AT DETROIT



MARIA CONTRERAS ARTEAGA,            )                     A# 096-535-924
                                    )
Plaintiff,                          )
                                    )
v.                                  )
                                    )
KEVIN McALEENAN, SECRETARY          )
OF UNITED STATES DEPARTMENT         )
OF HOMELAND SECURITY; LEE           )
FRANCIS CISSNA, ACTING              )
DIRECTOR OF UNITED STATES           )
CITIZENSHIP AND IMMIGRATION         )
SERVICES; MICHAEL KLINGER,          )
FIELD OFFICE DIRECTOR OF            )
DETROIT SERVICE CENTER,             )
UNITED STATES CITIZENSHIP           )
AND IMMIGRATION SERVICES;           )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY; and UNITED STATES         )
CITIZENSHIP AND IMMIGRATION         )
SERVICES,                           )
                                    )
 Defendants.                        )
____________________________________)


              PLAINTIFF'S COMPLAINT FOR MANDAMUS

                                     AND

                       DECLARATORY JUDGMENT




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                                         INTRODUCTION

1.      Plaintiff, Maria Contreras Arteaga (a citizen of Mexico), brings this mandamus action to

        compel defendants to complete the adjudication of her I-485, Application to Register

        Permanent Residence or Adjust Status, under INA section 245i which has been pending

        before USCIS since September 9, 2014. Attached and marked Exhibit “A” is a copy of

        the receipt notice bearing receipt number MSC-1491729505.

2.      The Plaintiff is the recipient of an approved I-130 granting her a visa through her mother

        which was approved on February 9, 2000, bearing the receipt number WAC0009250312.

        Attached and marked Exhibit “B” is a copy of said receipt notice.

3.      The Plaintiff’s application remains within the jurisdiction of the Defendants, who have

        improperly withheld action on the application for an unreasonable period of time, to the

        detriment of the Plaintiff.

                                        II. JURISDICTION

     4. This is a civil action brought pursuant to 28 U.S.C. § 1361 (“The district courts shall have

        original jurisdiction of any action in the nature of mandamus to compel an officer or

        employee of the United States or any agency thereof to perform a duty owed to the

        plaintiff.”). Jurisdiction is further conferred by 8 U.S.C. § 1329 (jurisdiction of the district

        courts) and 28 U.S.C. § 1331 (federal subject matter jurisdiction).

5.      Jurisdiction is also conferred pursuant to 5 U.S.C. §§ 555(b) and 702, the Administrative

        Procedure Act (“APA”). The APA requires USCIS to carry out its duties within a

        reasonable time. 5 U.S.C. § 555(b) provides that “with due regard for the convenience

        and necessity of the parties or their representatives and within a reasonable time, each

        agency shall proceed to conclude a matter presented to it.” USCIS is subject to 5 U.S.C.

        § 555(b). See Trudeau v. FTC, 456 F.3d 178, 185 (D.C. Cir. 2006) (finding that district
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     court has jurisdiction under the APA, in conjunction with 28 U.S.C. § 1331, to review

     Plaintiff’s complaint for declaratory and injunctive relief; Liberty Fund, Inc. v. Chao, 394

     F. Supp. 2d 105, 114 (D.D.C. 2005) (“The Administrative Procedure Act requires an

     agency to act „within a reasonable time,‟ 5 U.S.C. § 555(b), and authorizes a reviewing

     court to „compel agency action … unreasonably delayed,‟ 5 U.S.C. § 706(1).”).

6.   Section 242 of the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1252, does not

     deprive this Court of jurisdiction. INA § 242(a)(5) provides that “a petition for review

     filed with an appropriate court of appeals in accordance with this section, shall be the sole

     and exclusive means for judicial review of an order of removal entered or issued under

     any provision of this Act.” As the present action does not seek review of a removal order,

     but is simply an action to compel USCIS to adjudicate the Plaintiff’s unreasonably

     delayed application, this Court retains original mandamus jurisdiction under 28 U.S.C. §

     1361. See Liu v. Novak, 509 F. Supp. 2d 1, 5 (D.D.C. 2007) (“There is … significant

     district court authority holding that [8 U.S.C.] § 1252(a)(2)(B)(ii) does not bar judicial

     review of the pace of application processing or the failure to take action.”).

7.   Numerous federal district courts have ruled that adjudication of a properly filed

     adjustment of status application, including completion of all necessary background

     checks, is a purely ministerial, non-discretionary act which the Government is under

     obligation to perform in a timely manner. Shahid Khan v. Scharfen, 2009 U.S. Dist.

     LEXIS 28948 (N.D. Cal. Apr. 6, 2009); Nigmadzhanov v. Mueller, 550 F. Supp. 2d 540

     (S.D.N.Y. 2008); Jones v. Gonzales, Slip Copy, 2007 U.S. Dist. LEXIS 45012 (S.D. Fla.

     June 21, 2007) (“No agency responsible for resolving matters of public interest should be




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      free to let those matters pend in perpetuity; otherwise would be to relieve the agency of

      its Congressionally-mandated duty to the public.”).

8.    Both the regulations and the INA provide numerous examples of duties owed by USCIS

      in the adjustment of status process. 8 U.S.C. § 1103 provides that “the Secretary of

      Homeland Security shall be charged with the administration and enforcement of this Act

      and all other laws relating to the immigration and naturalization of aliens[.]” (Emphasis

      added). The Code of Federal Regulations provides that “[e]ach applicant for adjustment

      of status . . . shall be interviewed by an immigration officer.” 8 C.F.R. § 245.6. The

      regulations further provide that “the applicant shall be notified of the decision of the

      director and, if the application is denied, the reasons for the denial.” 8 C.F.R. §

      245.2(a)(5)(i). The language of the statute and the above cited regulations is mandatory,

      not discretionary, and the Defendants have a clear duty to adjudicate the applications for

      adjustment of status pending before them. See Matter of Sealed Case, 151 F.3d 1059,

      1063 (D.C. Cir. 1998); see also First Federal Savings and Loan Association of Durham

      v. Baker, 860 F.2d 135, 138 (4th Cir. 1988).

9.    As set forth below, the delay in processing the Plaintiff’s properly filed application for

      adjustment of status is unreasonable.

10.   Jurisdiction of the Court is predicated upon 28 USC §§1331 and 1346(a)(2) in that the

      matter in controversy arises under the Constitution and laws of the United States, and the

      United States is a Defendant. This Court also has jurisdiction over the present action

      pursuant to 28 USC §2201, the Declaratory Judgment Act; 5 USC §702, the

      Administrative Procedures Act; and 28 USC §1361, regarding an action to compel an

      officer of the United States to perform his or her duty.


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                                         III. VENUE

11.   Venue is proper under 28 U.S.C. § 1391(e), because this is an action against officers and

      agencies of the United States in their official capacities, brought in the district where a

      substantial part of the events or omissions giving rise to the Plaintiff’s claim occurred.

12.   The Defendant Francis Cissna is sued in his official capacity as Director of USCIS, a

      United States federal agency and resident in this district.

13.   The Defendant Kevin McAleenan is sued in his official capacity as Secretary of the U.S.

      Department of Homeland Security (“DHS”), a United States federal agency.

14.   The Defendant Michael Klinger is sued in his official capacity as Director of the USCIS

      Detroit Service Center. The Detroit Service Center is charged with the administration of

      the Immigration and Nationality Act and the adjudication of petitions filed in the Detroit

      area. Plaintiff’s I-485 petition is pending at the Detroit Service Center.

15.   National policy regarding adjudication of applications for immigration benefits is

      governed by the DHS and implemented by USCIS, venue is proper in this district.

16.   Venue is proper in this District under 28 USC §1391(e), because a substantial part of the

      events and omissions giving rise to the claim occurred in this district, and because

      Defendants operate within this district.



               IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

17.   No exhaustion requirements apply to the Plaintiff’s complaint for a Writ of Mandamus.

      The Plaintiff is owed a duty to have her application filed with USCIS, to adjust status

      adjudicated. Defendants have unreasonably delayed and failed to adjudicate the

      Plaintiff’s application for more than 4 years. The Plaintiff has no other adequate remedy


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       available for the harm she seeks to address, which is the failure of USCIS to process her

       application in a timely manner.

                                V. SUMMARY OF FACTS

18.   Plaintiff filed an application to adjust status with USCIS on August 14, 2014. See

      attached Exhibit “A”. She appeared before United States Citizenship and Immigration

      Services for an Initial Interview on October 13, 2015 to adjudicate her I-485 application

      to adjust status.

19.   Plaintiff appeared at the interview and was told by the interviewing officer that she would

      be recommended for approval.

20.   The interviewing Immigration Officer, advised that he was taking the file to be signed off

      by the attending supervisor. This was standard procedure. Upon his return, the officer

      advised that Plaintiff needed to file Form I-601, Waiver for Grounds of Inadmissibility in

      order to process the adjustment of status application. He went on to state that the

      adjustment application would be approved upon approval of the I-601.

21.   Plaintiff, immediately following the interview, filed the application I-601, Appliation for

      waiver of grounds of inadmissibility. Attached and marked Exhibit “C” is a copy of the

      receipt notice, bearing the receipt number MSC-16-901-98255 evidencing the application

      was received by USCIS on November 16, 2015 and approved by USCIS, on July 29,

      2016.

22.   Nearly three years have passed since the I-601 was approved and Plaintiff has not receied

      any decision on her initial application. She has made numerous written, telephonic and

      in-person status inquiries with USCIS over the past three years and has been repeatedly




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       advised that her I-485 application is been pending. Attached and marked Exhibit “D” are

       proofs thereof.

                                             ARGUMENT

23.    Ms. Arteaga is prejudiced by the undue delay in the processing of this petition. USCIS

       has acted in bad faith in refusing to adjudicate the adjustment application in a timely

       manner. USCIS knows that because of its failure to adjudicate the I-485 petition, Ms.

       Arteaga is unable to do the things she wants to do.

24.    Defendants’ failure to adjudicate and approve Plaintiffs’ I-485 petition constitutes an

       unreasonable failure to act in violation of the Administrative Procedures Act and denies

       Plaintiffs due process and equal protection of the laws guaranteed by the Fifth

       Amendment of the United States Constitution.

25.    The Defendant USCIS has unreasonably failed to issue a final decision on Plaintiff’s

       application for adjustment of status. As more than 4 years have elapsed since the Plaintiff

       filed her application to adjust status, she respectfully requests that this Honorable Court

       to instruct USCIS to release the case from hold and adjudicate the I-485 application

       without further delay.

                                            RELIEF

       A mandamus plaintiff must demonstrate that: (i) he or she has a clear right to the relief

requested; (ii) the defendant has a clear duty to perform the act in question; and (iii) no other

adequate remedy is available. Power v. Barnhart, 292 F.3d 781, 784 (D.C. Cir. 2002); Citizens

for Ethics and Responsibility in Wash. v. Cheney, 593 F. Supp. 2d 194, 219 (D.D.C. 2009); see

also Liu, 509 F. Supp. 2d at 10 (holding, in mandamus suit alleging unreasonable agency delay,

that “‟the statutory duty involved [in such cases] … does not specify what course of action shall

be taken. Rather, regardless of what course it chooses, the agency is under a duty not to delay
                                    Maria Contrares – Writ of Mandamus A#096 535 924      10
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unreasonably in making that choice‟”) (quoting Sierra Club v. Thomas, 828 F.3d 783, 794 (D.C.

Cir. 1987)); Aslam, 531 F. Supp. 2d at 743 (“The Court concludes that CIS has a legal obligation

to adjudicate Aslam’s petition within a reasonable period of time.”). The Plaintiff clearly meets

all three of these criteria. The Plaintiff has fully complied with all of the statutory and regulatory

requirements for seeking adjustment of status, including submission of all necessary forms and

supporting documents. The Defendant USCIS has unreasonably failed to adjudicate the

Plaintiff’s application to adjust status for over 4 years, thereby depriving the Plaintiff of her

rights under INA § 209, 8 U.S.C. § 1159. Pursuant to 5 U.S.C. §§ 555(b) and 702 (APA), “with

due regard for the convenience and necessity of the parties or their representatives and within a

reasonable time, each agency shall proceed to conclude a matter presented to it.”                  The

Defendants owe the Plaintiff a duty to adjudicate her adjustment of status application, pursuant

to the INA and its implementing regulations, and have unreasonably failed to perform that duty.

See, e.g., Northern States Power Co. v. U.S. Dep’t of Energy, 128 F.3d 754, 761 (D.C. Cir.

1997) (issuing writ of mandamus to preclude government defendant “from excusing its own

delay” in complying with a clear statutory obligation). The Plaintiff has no alternative means to

obtain adjudication of her I-485 adjustment application and her right to issuance of the writ is

“clear and indisputable.” Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 289

(1988); see also Power, 292 F.3d at 784; Matter of Sealed Case, 151 F.3d at 1063 (holding that

mandamus is an appropriate remedy whenever a party demonstrates a clear right to have an

action performed by a government official who refuses to act and that no other adequate means

to attain the relief exist); Liberty Fund, Inc., 394 F. Supp. 2d at 114. The Court’s intervention is

also appropriate because Defendants have failed to act within a reasonable period of time. See,

e.g., Sierra Club, 828 F.3d at 794 (“regardless of what course it chooses, the agency is under a


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duty not to delay unreasonably in making that choice”); Northern States Power, 128 F.3d at 760

(“Given DOE’s repeated attempts to excuse its delay … we find it appropriate to issue a writ of

mandamus ….”); Liu, 509 F. Supp. 2d at 9-10 (holding that the APA requires the government to

act within a reasonable period of time). The Plaintiff has already waited more than 4 years for

adjudication of her pending I-485 application, well beyond the agency’s own published

processing timeframe for such applications. This is an unacceptable and unreasonable delay. The

Plaintiff is entitled to action on her long-pending adjustment of status application, because an

unreasonable amount of time has passed since her application was filed. Defendants have failed

to carry out the adjudicative and administrative functions delegated to them by law, to the

ongoing harm and prejudice of the Plaintiff. Defendants‟ delay is without justification and has

forced the Plaintiff to resort to this Court for relief, and the Plaintiff is entitled to attorney’s fees

pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d)(2).

        WHEREFORE, the Plaintiff respectfully requests that this Honorable Court grant the

following relief:

        1. Compel the Defendants and those acting under them to take all appropriate action to

adjudicate the Plaintiff’s I-485 Application to Adjust Status without further delay and no later

than 60 days from the date of the filing of this complaint;

        2. Grant attorney’s fees and costs of court to the Plaintiff under the Equal Access to

Justice Act (“EAJA”);

        3. Grant such other and further relief as this Court deems proper.

                                                                        Respectfully Submitted,



Dated: April 12, 2019                                                   __/Dalia R. Kejbou/_______
                                                                        Dalia Rasha Kejbou (P63428)

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                        UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN AT DETROIT



MARIA CONTRERAS ARTEAGA,            )                         A# 096-535-924
                                    )
Plaintiff,                          )
                                    )
v.                                  )
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KEVIN McALEENAN, SECRETARY          )
OF UNITED STATES DEPARTMENT         )
OF HOMELAND SECURITY; LEE           )
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DIRECTOR OF UNITED STATES           )
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AND IMMIGRATION SERVICES;           )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY; and UNITED STATES         )
CITIZENSHIP AND IMMIGRATION         )
SERVICES,                           )
                                    )
 Defendants.                        )
____________________________________)



                                      EXHIBITS



   A.    I-485 Receipt Notice
   B.   I-130 Receipt Notice
   C.   I-601 Receipt Notice
   D.   Communicatins to USCIS




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